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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.:

  YOSBREY CONCHADO, DAVID DEVITO,
  ANTONIO STURGIS, and AHMAD JONES,
  on behalf of themselves and all others similarly
  situated,

         Plaintiffs,

  vs.

  KAUFF’S, INC., a foreign corporation, d/b/a
  Kauff’s Transportation, Kauff’s Transportation
  Systems, and Kauff’s Towing and Transportation,
  GUARDIAN FLEET SERVICES, INC., a Florida
  corporation, d/b/a Kauff’s Transportation, Kauff’s
  Transportation Systems, and Kauff’s Towing and
  Transportation, and FRANCIS GEOFFREY
  RUSSELL a/k/a GEOFFREY RUSSELL, a/k/a
  GEOFF RUSSELL, individually,

         Defendants.
                                                                /

         COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

         The Plaintiffs, Yosbrey Conchado, David Devito, Antonio Sturgis, and Ahmad Jones, on

  behalf of themselves and all others similarly situated, by and through their undersigned counsel, sue

  the Defendants, KAUFF’S, INC., a foreign corporation, d/b/a Kauff’s Transportation, Kauff’s

  Transportation Systems, and Kauff’s Towing and Transportation (“Kauff’s), GUARDIAN FLEET

  SERVICES, INC., a Florida corporation, d/b/a Kauff’s Transportation, Kauff’s Transportation

  Systems, and Kauff’s Towing and Transportation (“Guardian”) (collectively “the Corporate

  Defendants”), and FRANCIS GEOFFREY RUSSELL a/k/a GEOFFREY RUSSELL, a/k/a GEOFF

  RUSSELL, individually (“Russell”), and for their causes of action, declare and aver as follows:

         1.      The Plaintiffs are former employees of the Corporate Defendants, working for the
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  Corporate Defendants in the Southern District of Florida during one or more workweeks within the

  last three (3) years.

          2.      The Plaintiffs bring this action on behalf of themselves and all other current and

  former employees of the Corporate Defendants similarly situated to them, on a collective basis, for

  compensation and other relief under the Fair Labor Standards Act, as amended, 29 U.S.C. § 201, et

  seq. (hereinafter referred to as “the FLSA”).

          3.      The Plaintiffs are within the jurisdiction of this Court.

          4.      Kauff’s is a foreign corporation, doing business in Florida as Kauff’s Transportation,

  Kauff’s Transportation Systems, and Kauff’s Towing and Transportation, and is within the

  jurisdiction of this Court.

          5.      Guardian is a Florida corporation, doing business in Florida as Kauff’s

  Transportation, Kauff’s Transportation Systems, and Kauff’s Towing and Transportation, and is

  within the jurisdiction of this Court.

          6.      At all times material hereto, the Corporate Defendants shared services of employees,

  and/or interchanged employees, acted in the direct interests of each other towards a collective

  interest, and exercised common control over employees and operations, including personnel

  decisions, and as such, the Corporate Defendants are a “single employing enterprise” or,

  alternatively, “joint employers” of the Plaintiffs.

          7.      Defendant, Russell, is a resident of Palm Beach County, Florida, and within the

  jurisdiction of this Court. At all times material hereto, Russell owned, managed and/or operated the

  Corporate Defendants. Moreover, at all times material hereto, Russell regularly exercised the

  authority to hire and fire employees; determine the work schedules of employees; set the pay rates

  of employees; and control the finances and operations of the Corporate Defendants. By virtue of

  such control and authority, Russell is individually liable as an “employer” under the FLSA.

          8.      This action is brought to recover from the Defendants unpaid overtime compensation,

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  liquidated damages, costs and reasonable attorneys' fees, as well as for declaratory and injunctive

  relief, under the provisions of the FLSA, 29 U.S.C. § 201, et seq., and specifically under 29 U.S.C.

  § 216(b).

          9.      Subject matter jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29

  U.S.C. § 216(b).

          10.     At all times material hereto, Defendants were, and continue to be, engaged in

  interstate commerce as defined by the FLSA.

          11.     At all times material hereto, during their employment with Defendants, Plaintiffs were

  engaged in interstate commerce.

          12.     The additional persons who may become Plaintiffs in this action, and who Plaintiffs

  believe are entitled to notification of the pendency of this action, and of their right to opt-in to this

  action, are current and former employees of the Corporate Defendants similarly situated to Plaintiffs

  who are or were subject to the payroll practices and procedures described in the paragraphs below.

          13.     At all times pertinent to this Complaint, Defendants failed to comply with 29 U.S.C.

  § 201-19 in that Plaintiffs and those current and former employees similarly situated to Plaintiffs,

  while employed by the Corporate Defendants as tow truck drivers, performed hours of service for

  the Corporate Defendants in excess of forty (40) during one or more workweeks, for which the

  Corporate Defendants failed to properly pay overtime premiums.

          14.     In the course of their employment with the Corporate Defendants, Plaintiffs, and other

  current and former employees similarly situated to them, worked hours in excess of forty (40), but

  were not properly paid overtime.

          15.     The pay practices of the Corporate Defendants, as described in the above paragraphs,

  violated the FLSA by failing to properly pay overtime premiums to Plaintiffs, and those other current

  and former employees similarly situated to Plaintiffs, for those hours worked in excess of forty (40).

          16.     During the three (3) years preceding the filing of this lawsuit, the Corporate

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  Defendants employed, and continue to employ, individuals similarly situated to Plaintiffs (i.e. tow

  truck drivers) throughout the state of Florida.

          17.     During the three (3) years preceding the filing of this lawsuit, the Corporate

  Defendants suffered or permitted to be suffered, with knowledge, hours of service by these

  employees, including in excess of forty (40), during one or more workweeks, for which Defendants

  failed to properly pay overtime premiums.

          18.     Each improperly paid employee who performed and/or continues to perform services

  for the Corporate Defendants, for any time period during the three (3) years preceding this lawsuit,

  is entitled to notification of the pendency of this action and of his/her right to consent to becoming

  a party to this action.

          19.     Plaintiffs therefore will seek this Court’s authorization to mail notice on a company-

  wide basis to all current and former employees similarly situated to the Plaintiffs who work or

  worked for the Corporate Defendants during any payroll period going back three (3) years from the

  date of filing of this lawsuit.

          20.     It should be noted that the Defendants previously settled another lawsuit brought by

  a similarly situated individual. See Puza v. Kauff’s, Inc. et al., Case No. 9:18-cv-81330-BER.

                        COUNT I - RECOVERY OF UNPAID OVERTIME

          21.     Plaintiffs reaver and reallege all allegations contained in paragraphs 1 through 20

  above as if fully set forth herein.

          22.     Plaintiffs are entitled to be paid an overtime premium for each hour worked in excess

  of forty (40) per workweek and to have such overtime calculated in accordance with Federal

  Regulations, to include commission/bonus payments earned in the appropriate workweek in the

  calculation of the regular rate for the purposes of determining overtime entitlement. All similarly

  situated employees are similarly owed overtime premiums, calculated properly, for those overtime

  hours they worked and for which they were not properly paid.

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          23.        By reason of the willful and unlawful acts of the Defendants, all Plaintiffs (Plaintiffs

  and those similarly situated to them) have suffered damages plus incurred costs and reasonable

  attorneys' fees.

          24.        As a result of the Defendants’ violation of the Act, all Plaintiffs (Plaintiffs and those

  similarly situated to them) are entitled to liquidated damages in an amount equal to that which they

  are owed as unpaid overtime.

          WHEREFORE, Plaintiffs, and those similarly situated to them, who have or will opt-in to

  this action, demand judgment against Defendants for the overtime wages due them for the hours

  worked by them for which they have not been properly compensated, liquidated damages, reasonable

  attorneys' fees and costs of suit, and for all other relief the Court deems just and proper.

          PLAINTIFFS DEMAND TRIAL BY JURY ON ALL ISSUES SO TRIABLE

                                                     Respectfully submitted,

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